                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                    Case No. 3:21-mj-4149
 v.

 RICCARDO PAOLO SPAGNI,                             Magistrate Judge Alistair E. Newbern

         Defendant.


                                              ORDER

        Riccardo Paolo Spagni appeared before this Magistrate Judge on May 25, 2022, for a

scheduled hearing on a complaint for his arrest and extradition on the request of the Government

of South Africa, as contemplated by 18 U.S.C. § 3184. The complaint states that, on April 19,

2021, the Magistrate Court of the District of Cape Town, South Africa, issued a warrant for

Spagni’s arrest charging Spagni with fraud. (Doc. No. 1.) The complaint includes facts supporting

the issuance of the warrant that allege, in sum, that Spagni defrauded his former employer Cape

Cookies of 1,453,561.47 South African Rand during the course of his employment. (Id.) The

complaint further represents that a trial on these charges commenced in South Africa at which

Spagni ultimately failed to appear, resulting in the issuance of a warrant for his arrest on April 19,

2021. (Id.)

        At the hearing, and in open court, Spagni confirmed that there is an extradition treaty in

place between the United States and South Africa, that he has been fully apprised of his rights

under that treaty, that the treaty covers the offenses for which his extradition is requested, that he

is the person whose extradition is sought by the Government of South Africa, and that probable

cause exists to believe that he has committed the offenses for which his extradition is requested.




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Spagni also confirmed these representations in a filed affidavit (Doc. No. 54). The Court is assured

by Spagni’s representations on the record that he makes these admissions and has waived his right

to an extradition hearing knowingly and voluntarily.

       Based on these representations, the Court CERTIFIES under 18 U.S.C. § 3184 that there

is sufficient evidence to sustain the charges against Spagni.

       It is ORDERED that the conditions of Spagni’s release remain in place as ordered (Doc.

No. 24). The United States shall notify Spagni of the date on which duly authorized representatives

of the Government of South Africa will depart South Africa to effectuate his arrest. On the eve of

the date on which the South African representatives begin their travel, Spagni shall surrender as

directed by the United States to the United States Marshal. The Marshal shall deliver Spagni and

any evidence seized incidental to his arrest and sought by the Government of South Africa to the

custody of the authorized representatives of the Government of South Africa to be transported to

South Africa. The transfer of Spagni and any seized evidence shall be at a time and place mutually

agreed upon by the United States Marshal and the authorized representatives of the Government

of South Africa.

       It is so ORDERED.

                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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